         Case 5:20-cr-00058-FB Document 13 Filed 02/05/20 Page 1 of 2

                                                                               FILED
                             UNITED STATES DISTRICT COURT                        FEB 0 5 2020
                              WESTERN DISTRICT OF TEXAS                  CLER}   U.S. DISTRICT COURT
                                 SAN ANTONIO DIVISION                   WEST       Dt8TJCt OF TEXAS
                                                                        BY
                                                                                       DEPUTY CLERK
UNITED STATES OF AMERICA,                    §       CRIMINAL NO.
                                             §
               Plaintiff,                    §       INDICTMENT
                                             §       Ct 1: 18 U.S.C. §922(o)
VS.                                          §       Illegal Possession of a Machine Gun
                                             §       Ct 2: 18 U.S.C. §922(g)(5)
JOSE MIGUEL SANDOVAL-PINEDA,                 §       Illegal Alien in Possession of a Firearm
                                             §
               Defendant.

THE GRAND JURY CHARGES:
                                                 A20 CR005 8JKP
                                         COUNT ONE
                                      [18 U.S.C. § 922(o)]

       On or about August 24,2019, in the Western District of Texas, Defendant,

                            JOSE MIGUEL SANDOVAL-PINEDA,

knowingly possessed a machinegun, that is, a Glock, model 19 Gen4, .9mm caliber pistol, serial

number ACLF784, equipped with a conversion device that made it capable of firing automatically

more than one shot, without manual reloading, by a single function of the trigger, in violation of

Title 18, United States Code, Sections 922(o) & 924(a)(2).

                                         COUNT TWO
                                    [18 U.S.C. § 922(g)(5)]

       On or about August 24, 2019, in the Western District of Texas, Defendant,

                            JOSE MIGUEL SANDOVAL-PINEDA,

knowing he was an alien illegally and unlawfully in the United States, knowingly possessed a

firearm, to wit: a Glock, model 19 Gen4, .9mm caliber pistol, serial number ACLF784, and said

firearm had been shipped and transported in interstate and foreign commerce, in violation of Title

18, United States Code, Sections 922(g)(5) & 924(a)(2).
            Case 5:20-cr-00058-FB Document 13 Filed 02/05/20 Page 2 of 2



      NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITuRE
                          [See Fed. R. Crim. P. 32.2]


                                                   I.

                        Firearms Violations and Forfeiture Statutes
            [Title 18 USC § 922(o) and (g)(5) subjects to forfeiture pursuant to
  Title 18 USC §924(d)(1), made applicable to criminal forfeiture by Title 28 USC § 2461]

       As a result of the foregoing criminal violation set forth in Counts One and Two, the United

States of America gives notice to the Defendant JOSE MIGUEL SAND OVAL-PINEDA of its

intent to seek the forfeiture of the below described properties upon conviction pursuant to Fed. R.

Crim. P. 32.2 and Title 18 U.S.C. § 924(d)(1), made applicable to criminal forfeiture by Title 28

U.S.C. § 2461, which states:

       Title 18 USC § 924. Penalties
       (d)(l) Any firearm or ammunition involved in or used in any knowing violation of
       subsection . . . (g). . . (o). . . of section 922. . . shall be subject to seizure and forfeiture.
         under the provisions of this chapter....

 This Notice of Demand for Forfeiture includes, but is not limited to, the following properties:

       1. Glock, Model 19 Gen4, .9mm pistol, receiver SN: ZGP972, barrel and slide SN:
          ACLF784, with a Glock switch attached to slide
       2. Any and all firearms, ammunition, and/or accessories involved in or used in the
          commission of the criminal offense.




       JOHN F. BASH
       UNUED STATES ATTORNEY


BY:
       BRIAN NOW1NSKI
       Assistant United States Attorney
